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                                                                    August 16, 2018

           VIA ECF

          Honorable Brian R. Martinotti, U.S.D.J.
          United States District Court
          Clarkson S. Fisher Building & U.S. Courthouse
          402 East State Street Rm. 2020
          Trenton, NJ 08608

                        Re: In re: Invokana (Canagliflozin) Products Liability Litigation, MDL 2750 Master
                        Docket No. 3:16-md-2750 (BRM)(LHG)

          Dear Judge Martinotti:

                   This firm is Liaison Counsel for the Plaintiffs in the above-referenced multi-district
          litigation. In accordance with the permission provided by the Court during our previous
          conference, the following dial-in number is available for counsel to listen to the case
          management conference today with their telephones on mute:

                                                           Dial in – 866-842-1101

                                                           Access code – 5579

                 Thank you for your attention to this matter. If the Court has any questions, we are
          available at your convenience.

                                                                                    Respectfully submitted,

                                                                                   CARELLA, BYRNE, CECCHI,
                                                                                   OLSTEIN, BRODY & AGNELLO, P.C.

                                                                                   /s/ James E. Cecchi
                                                                                   James E. Cecchi

          cc:           Hon. Lois H. Goodman, U.S.M.J. (via ECF)
                        All Counsel of Record (via ECF)
